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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 9:21-cv-81974-WPD

  AFFORDABLE AERIAL PHOTOGRAPHY, INC.,

                          Plaintiff,

  vs.

  MINDY SEPINUCK,

                          Defendant.
                                                           /

               DEFENDANT MINDY SEPINUCK’S ANSWER TO THE COMPLAINT
                            AND AFFIRMATIVE DEFENSES

          Defendant Mindy Sepinuck (“Defendant”) submits her Answer to Plaintiff’ Affordable

  Aerial Photography, Inc’s (“Plaintiff”) Complaint (DE 1) for Copyright Infringement, and states

  as follows:

          1.      Admitted.

          2.      Admitted.

          3.      Defendant admits that the Complaint plausibly recites a case or controversy

  involving a federal question under 28 U.S.C. § 1331, relating to Copyright Act, see 28 U.S.C.

  § 1338(a). Defendant is without knowledge as to any other allegations or implications contained

  in this paragraph, as it appears to assert that jurisdiction here is conferred in gross, directly contrary

  to Supreme Court precedent. See TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021)

  (jurisdiction must exist for each claim and each form or relief sought).

          4.      Defendant admits that this Court has personal jurisdiction over her as she is a

  Florida citizen. Defendant is without knowledge as to the remaining facts contained in this

  apparent form-recitation paragraph and therefore denies them on those grounds.
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         5.      Defendant admits that venue is proper in this District under 28 U.S.C. §§ 1391 and

  1400(a). Defendant admits that she resides in this district. The Defendant is without knowledge

  as to the remaining allegations in this paragraph related to “her agents” and the Plaintiff’s apparent

  form-recitation of legal authority and denies them on those grounds.

         6.      Defendant is without knowledge as to the allegations contained in this paragraph

  and therefore denies them as those grounds.

         7.      Defendant admits that Mr. Stevens was a real estate photographer who, in

  association with the Plaintiff, offered a full array of stock photographs to any interested party.

  Defendant is without knowledge as to any and all remaining allegations contained in this paragraph

  and therefore denies them on those grounds.

         8.      Defendant is without knowledge as to the allegations contained in this paragraph

  and therefore denies them as those grounds.

         9.      Defendant is without knowledge as to the allegations contained in this paragraph

  and therefore denies them as those grounds.

         10.     Defendant is without knowledge as to the allegations contained in this paragraph.

  Defendant avers that public records and Plaintiff’s litigation history show that Plaintiff previously

  maintained a commercial website at the domain www.stockimagedepot.com, where it offered

  Plaintiff’s stock photographs for a one-time fee of roughly $300 per photograph.

         11.     Defendant admits that Plaintiff offers its stock photography for a one-time license

  for its photographs subject to standard terms. Defendant is without knowledge as to the remaining

  allegations contained in this paragraph and therefore denies them on those grounds.

         12.     Defendant is without knowledge as to the allegations contained in this paragraph

  and therefore denies them as those grounds.



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         13.        Defendant is without knowledge as to the allegations contained in this paragraph

  and therefore denies them on those grounds. Defendant avers that the registration certificate no.

  VA 2-075-526, attached as exhibit A to the Complaint, identifies a photograph titled “Sewells

  Point aerial a 2015 AAP” and indicates that it was published in 2015.

         14.        Defendant admits that the photograph reproduced as part of this paragraph includes

  copyright management information as stated in this paragraph. Defendant is without knowledge

  as to all remaining allegations and assertions contained in this paragraph and therefore denies them

  on those grounds.

         15.        Defendant admits that a registration certificate no. VA 2-075-526 is attached as

  exhibit A to the Complaint, and that it identifies a photograph titled “Sewells Point aerial a 2015

  AAP” as being one of the photographs registered as part of a group registration of published

  photographs.      Defendant is without knowledge as all remaining allegations and assertions

  contained in this paragraph and denies them on those grounds.

         16.        Defendant is without knowledge as to the allegations contained in this paragraph

  and therefore denies them on those grounds.

         17.        Admitted.

         18.        Denied as stated. Defendant admits she had a business Facebook page titled

  “Mindy Sells South Florida” that was available at the URL identified in the Complaint. Defendant

  further admits that the Facebook page contained limited information related to her as a real estate

  agent. Defendant denies that she presently “markets her real estate business through” that

  webpage. Defendant denies all other allegations and implications contained in or expressed by

  this paragraph.




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          19.     Denied as stated.     Defendant admits that on May 2, 2019, she published a

  photograph on her Facebook page as shown in the reproduction contained in this paragraph.

  Defendant denies all other allegations and assertions contained within this paragraph and therefore

  denies them on those grounds.        Defendant further avers that on May 2, 2019, she posted

  information from the Multiple Listing Service (“MLS”), including approximately 8 of 30

  photographs and information related to a listing from another broker who had identified such

  listing as “any broker can advertise,” which is a designation on the MLS that real estate agents use

  to indicate that other brokers are allowed to repost those listings. Defendant avers that she was

  not contacted by potential clients interested in that listing and she did not participate in the sale of

  that listing.

          20.     Denied as stated. Defendant admits that she did not remove copyright management

  information from any photograph she posted onto her Facebook page. Defendant denies that the

  presence of copyright management information “unequivocally show[s] the two photographs to be

  the same,” and the illogic which Plaintiff employs in making this statement. Defendant denies that

  exhibit B to the Compliant is “[a] true and correct copy of screenshots of Defendants’ Facebook

  page, displaying the copyrighted Work,” which is readily apparent to anyone viewing exhibit B.

  While Defendant admits that exhibit B shows a single screenshot that appears to be of viewing the

  specific photograph posted on Defendant’s Facebook page, that screenshot is not of Defendant’s

  Facebook page itself and is not multiple “screenshots” as stated in this paragraph.

          21.     Defendant is without knowledge as to the allegations contained in this paragraph

  and therefore denies them on those grounds. Defendant avers that the Plaintiff markets “stock”

  real estate photographs to real estate agents for them to use in listing properties on the MLS and

  other web sites and that Plaintiff is aware that the custom for the agents its licenses to is that such



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  listings are necessarily shared and reproduced by other agents in connection with the advertising

  and sale of properties. Plaintiff’s acts, therefore, would lead to a limited implied license under

  Eleventh Circuit precedent and further facts would need to be obtained from the Plaintiff to address

  the issue of licensing.

         22.     Denied.

         23.     Denied as stated. Defendant admits that she obtained a series of photographs from

  the MLS from another agent’s listing which identified the listing as “any broker can advertise,”

  and she admits she reposted information and photographs from that third-party agent’s listing.

  Defendant is without knowledge as to all other allegations and assertions contained in this

  paragraph and therefore denies them on those grounds.

         24.     Defendants is without knowledge as to the allegations contained in this paragraph

  and therefore denies them on those grounds.

         25.     Defendants is without knowledge as to the allegations contained in this paragraph

  and therefore denies them on those grounds. Defendant further avers that because the Plaintiff has

  not provided a certified copy of the deposit material in connection with the Complaint, until such

  is obtained, it cannot be determined that the Plaintiff has registered the claim of copyright in the

  specific photograph alleged to infringed, i.e., the photograph reproduced as part of paragraph 14,

                            COUNT I – COPYRIGHT INFRINGEMENT

         26.     Defendant incorporates her responses to paragraphs 1 through 25, above.

         27.     Denied as stated. Defendant admits that the photograph reproduced as part of

  paragraph 14 of the Complaint is an original work of authorship that contains enough

  copyrightable subject matter to provide for protection under the Copyright Act, codified at 17

  U.S.C. § 101, et seq. Defendant is without knowledge as to all other allegations and assertions



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  contained in this paragraph—including, inter alia, the assertion that the “Work” is the photograph

  reproduced as part of paragraph 14 of the Complaint—and therefore all other allegations and

  assertions are denied on that basis.

         28.     Defendant is without knowledge as to the allegations and assertions contained in

  this paragraph and therefore denies them on those grounds.

         29.     Denied as stated. Defendant admits that she had access to the photograph that she

  posted on Facebook.      Defendant is without knowledge as to all remaining allegations and

  assertions contained in this paragraph and therefore denies them on those grounds.

         30.     Denied.

         31.     Denied.

         32.     Denied as stated. Defendant admits she has been a licensed Florida realtor for

  approximately 9 years. Defendant is without knowledge as to all remaining allegations and

  assertions contained in this paragraph and denies them on those grounds.

         33.     Denied as stated.

         34.     Defendant is without knowledge as to the allegations and assertions contained in

  this paragraph and therefore denies them on those grounds. Defendant further avers that the

  Plaintiff’s allegations and assertions in this paragraph misstate the law.

         35.     Defendant is without knowledge as to the allegations and assertions contained in

  this paragraph and therefore denies them on those grounds.

         36.     Defendant is without knowledge as to the allegations and assertions contained in

  this paragraph and therefore denies them on those grounds.

         37.     Denied. Under Supreme Court precedent, the Plaintiff’s request for injunctive

  relief is moot and the Court no longer has Article III jurisdiction to grant such request for relief



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  because the photograph identified in paragraphs 19-20 is no longer present on Facebook in

  connection with the Defendant. See Uzuegbunam v. Preczewski, 141 S. Ct. 792; 797 (2021); see

  also TransUnion, 141 S. Ct. at 2207.

                            REPSONSE TO REQUESTS FOR RELIEF
         Defendant denies all allegations and assertions contained in the paragraphs requesting

  relief, identified as “a” through “g.”

                                    DEMAND FOR JURY TRIAL
         Defendant admits that the Complaint sets for a demand for a trial by jury on all issues to

  triable. Defendant likewise respectfully demands a trial by jury on all issues so triable.



                                    AFFIRMATIVE DEFENSES
         The Defendants affirmatively plead the following defenses:
         1.      Defendants have not infringed the copyrighted Work identified in registration

  certificate VA 2-075-526.

         2.      Defendant was licensed, either directly or impliedly, by the Plaintiff for the acts of

  alleged infringement identified in the Complaint. As previously identified, Plaintiff markets

  “stock” real estate photographs to real estate agents for them to be used in listing properties on the

  MLS and similar web sites and that Plaintiff is aware that the custom for the agents it licenses is

  that such listings are necessarily shared and reproduced by other agents in connection with the

  advertising and sale of properties. Plaintiff’s acts, therefore, would lead to a limited implied

  license under Eleventh Circuit precedent, though further facts remain to be obtained from the

  Plaintiff to address the issue of licensing more fully.

         3.      To the extent that any Defendant is found to have infringed any copyrighted work,

  such infringement was innocent, i.e., that she was not aware and had no reason to believe that her


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  acts constituted an infringement of copyright because she was acting with the belief that she had

  authority to reproduce the allegedly infringing photograph by the MLS listing agent who had

  identified the listing under the designation “any broker can advertise.”

         4.      To the extent that any Defendant is found to have infringed any copyright in a

  photographic work of the Plaintiff’s, such infringement is not actionable because the Plaintiff lacks

  a valid copyright registration for such work.

         5.      Plaintiff’s claims are barred by estoppel. Plaintiff previously maintained a website

  www.stockimagedepot.com where all or most of its photographs were publicly available for

  licensing and reproduction and potential defendants threatened by the Plaintiff were able to obtain

  objective evidence showing exactly what the cost of a license for each of the Plaintiff’s

  photographs costs. Before brining this lawsuit the Plaintiff shut that website down so as to, upon

  belief, obscure the minimal cost of a stock license fee.

         6.      Plaintiff’s claims are barred by evidentiary estoppel. As addressed above, the

  Plaintiff formerly maintained a website that contained the objective evidence of a license to each,

  or most, of the Plaintiff’s photographs, from which past licensing could be obtained and compared.

  To the extent that the Plaintiff has not maintained all of that information then it has knowingly

  removed critical evidence which would have been relied upon by the Defendant here.

         7.      Plaintiff’s infringement claims are barred by the doctrine of unclean hands.

  Evidence of such conduct is demonstrated in correspondence that has been designated protected

  under Federal Rule of Evidence 408 and therefore is not repeated here.

         8.      Plaintiff has engaged in one or more acts that constitute misuse of its copyrights,

  including, but not limited to, wrongfully asserting infringement of copyrights that have not been

  registered by identifying registrations which do not register the claim of copyright for the work



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  actually asserted, in violation of the requirements of the Copyright Act and contrary to public

  policy.

            9.     Plaintiff has engaged in one or more acts fraud/misuse with regard to his

  photographs and copyright registrations, including without limitation, threatening and filing

  actions for copyright litigation without first investigating the allegations of infringement and

  determining whether the allegedly infringing image is, in fact, a photograph for which the Plaintiff

  has registered its claim of copyright, versus one of the many photographs owned by the Plaintiff

  or its principal for which the claim of copyright has not yet been registered.

            10.    To the extent that Plaintiff seeks statutory damages and attorney’s fees pursuant to

  17 U.S.C. §§ 504–505, the Plaintiff is barred from such recovery under 17 U.S.C. § 412 for any

  infringement of a work which commenced before the effective date of its registration.



                                REQUEST FOR ATTORNEYS’ FEES

            Pursuant to 17 U.S.C. § 505, the Defendants request their reasonable attorneys’ fees and

  costs in connection with the defense of this action.


                                                 Respectfully submitted,

                                                 MCHALE & SLAVIN, P.A.

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